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McGREGOR W. SCOTT FILED

United States Attorney
MATTHEW STEGMAN

Assistant U.S, Attorney FEB -2 2006
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

2:06-(R-0048 08

UNITED STATES OF AMERICA, CR. NO. S-

VIOLATIONS: 18 U.S.C. § 471 -
Manufacturing Counterfeit
Federal Reserve Notes; 18
U.8.c. § 472 - Possessing and
Concealing Counterfeit Federal
Reserve Notes

Plaintiff,
Vv.
JASON DANIEL HOSKING,

Defendant.

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COUNT ONE: [18 U.S.C. § 471 - Manufacturing Counterfeit Federal
Reserve Notes]
The Grand Jury charges: THAT
JASON DANIEL HOSKING,
defendant herein, beginning at a time unknown to the Grand Jury, but
no later than in or about November of 2005, and continuing to
January 23, 2006, in the County of San Joaquin, State and Eastern
District of California, did, with intent to defraud, falsely make,
forge, and counterfeit obligations of the United States, that is,
Federal Reserve Notes, in violation of Title 18, United States Code,

Section 471.

 
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COUNT TWO: [18 U.S.C. § 472 - Possessing and Concealing Counterfeit

Federal Reserve Notes]

The Grand Jury further charges: THAT
JASON DANIEL HOSKING,
defendant herein, on or about January 23, 2006, in the County of San
Joaquin, State and Eastern District of California, did, with intent
to defraud, possess and conceal counterfeit obligations of the
United States, this is Federal Reserve Notes, which he knew to he
falsely made, forged, and counterfeited, in violation of Title 18,

United States Code, Section 472.
A TRUE BILL.
/s/ Signature on file w/AUSA

 

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cGREGOR W. SCOTT
United States Attorney

 
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Case 2:06-cr-00048-DFL Document1 Filed 02/02/06 Page 3 of 4

UNITED STATES DISTRICT COURT

Eastern District of California

Criminal Division

ental a

THE UNITED STATES OF AMERICA

¥S.

JASON DANIEL HOSKING

VIOLATION(S): 18 U.S.C. § 471 - Manufacturing Counterfeit Federal
Reserve Notes; 18 U.S.C. § 472 - Possessing and Concealing
Counterfeit Federal Reserve Notes

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PENALTY SLIP

(INDICTMENT)
DEFENDANT ; JASON DANIEL HOSKING
OUNT ONE:

VIOLATION: 18 U.S.C. § 471 - Manufacturing Counterfeit
Federal Reserve Notes

PENALTY : Not More Than 20 years imprisonment
Not More Than $250,000 fine, or both;
3-years supervised release.

COUNT TWO:

VIOLATION: 18 U.S.C. § 472 - Possessing and Concealing
Counterfeit Federal Reserve Notes

PENALTY : Not More Than 20 years imprisonment
Not More Than $250,000 fine, or both;
3-years supervised release.

ASSESSMENT: Mandatory $100 special assessment each count.

206-CR-0048 H
